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                                  Exhibit 46

           October 13, 2015 Declaration of Michael J. Allan
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                             [DOCUMENT REDACTED]

               HIGHLY CONFIDENTIAL INFORMATION SUBJECT TO
                           PROTECTIVE ORDER

         BMG RIGHTS MANAGEMENT (US) LLC, ET AL. V. COX ENTERPRISES,
         INC., ET AL., CIVIL ACTION NO. 1:14-CV-1611 (LOG/JFA), IN THE U.S.
           DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA
